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June 20, 2017



Raishawn Key
Maine State Prison
807 Cushing Road
Warren, ME 04864

Re:     Raishawn Key v. City of Augusta, et al., Civil Docket No. 1:17-cv-00007-JDL


Dear Mr. Key:

Enclosed please find the Voter Registration Manual (Defendants # 90-358) supplementing
Defendants' previous response to Reqs. ## 3-6 of Defendants' Response to Plaintiff's Request
for Production dated June 9, 2017.

Also enclosed as are additional documents (Defendants # 359-360) supplementing Defendants'
previous response to Req. # 7 of Defendants' Response to Plaintiff's Request for Production of
the same date.

These supplemental documents are now produced subject to and without waiving the objections
previously propounded, and those objections are incorporated by reference as if fully set forth
herein.



 Sincerely,



 Timothy E. Steige

 TES/abc

 Enclosures




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